       Case 1:16-cr-00430-CCB Document 136-3 Filed 12/21/18 Page 1 of 44



From:             WO]TKONSKI- STANTfY
To:               ]ACOBSON. MIKE (]AKE')
Subject:          Re: DVR fior Comer Groceries HY-2748-20e1
Date:             Thurday, D€cernber 21, 2017   12107106   {N


That is great news! Thank you for pushing this through!




Stan Wojtkonski
Special Agent
Office of lnspector General
lnvestigations
USDA


5601 Sunnyside Ave
Suite 2-2230
Beltsville, MD 20705


Cell: (301) 789-4052
Fax:1301L5912025
Stanlev-Wojtkonski@oig.usda.qov



----   Original message --------
From: "JACOBSON, MIKE (JAKE)" <mikejacobson@oig.usda.gov>
Date: 12/21/17 1 1:02 AM (GMT-05:00)
To: "WOJTKONSKI, STANLEY" <STANLEY.WOJTKONSKl@oig.usda.gov>
Subject: RE: DVR for Comer Groceries HY-2748-2064

stan,


It's the Procurement Management Branch and the Federal Acquisition Regulations.


We should have movement on the DVR today. Lonnie Boyd and I approve the AD700 yesterday and
Linda Josey is going to put the initial 51200.00 on the credit card. l'm staying on it, and/but we're
waiting for a shipping authorization from DME.


Jake


From: WOJTKONSKI, STANLEY
Sent: Thursday, December 21, 2017 7:31AM
To: JACOBSON, MIKE (JAKE) <mike.jacobson@oig.usda.gov>
Subiect: Re: DVR for Corner Groceries HY-2748-2064


Excuse my ignorance, but what are PMB and FAR?
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Stanley.Wojtkonski@oig.usda.gov




----   Original message --------
From: "JACOBSON, MIKE (JAKE)" <mikejacohson@oig"usda4oy>
Date: l2l20ll7 9:41 AM (GMT-05:00)
To: "WOJTKONSKI, STANLEY" <STANLFY.WOJTKONS
Subject RE: DVR for Comer Croceries HY-2748-2064

Stan,


I   apologize for my previous email. lt was neither acceptable nor appropriate to vent my frustration.


I   know this is very important to you and to the AUSA and we all are feeling the pressure on this one.
    Probably not to the extent you two are; nonetheless, Jim has tried everything to get that DVR to
work. I can't recall a time we haven't been able to produce in time for    a   trial date, and it's even
worse that this is now largely out of our hands.


I have    contacted Lonnie Boyd and he    is going   to contact PMB to tet this moving,

lf you have any other questions or concerns, or the AUSA, feel free to contact me and l'll referee.
PMB is an immovable object; they have FAR, etc., so calling isn't going to make them work         faster.   I

can assure you I have made clear the seriousness of the situotion.



lake



From: WOITKONSKI, STANLEY
        Case 1:16-cr-00430-CCB Document 136-3 Filed 12/21/18 Page 3 of 44


Sent: Tuesday, December 19,20t7 7:22PM
To: JACOBSON, MIKE (JAKE) <mike.jacobson @oig.usda.gov>
Subiect: Re: DVR for Corner Groceries HY-2748-2064


I share your frustration.




Stan Wojtkonski
Special Agent
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Beltsville, MD 20705


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Fax: (301) 504-2025
Stanlev.Woitkonski @oig.usda.gov



----   Original message --------
From: "JACOBSON, MIKE (JAKE)" <mikejacobson@o.ig,usd >
Date: l2ll9/17 5:57 PM (GMT-05:00)
To: "WOJTKONSKI, STANLEY" <STANLEY.WOJTKONS
Subject: RE: DVR for Comer Groceries HY-2748-2064

I   do not. Perhaps he can discuss this issue with the entity who sat on this device, putting us in an
impossible situation.


From: WOJTKONSKI, STANLEY
Sent: Tuesday, December 19, 2017 3:38 PM
To: IACOBSON, MIKE (JAKE) <mike.iacobson @oig.usda.gov>; CASTALDO, VINCENT
<VINCENT.CASTALDO@
Subiect: RE: DVR for Corner Groceries HY-2748-2054


Thejudge presiding over the tria I just ch anged. As a resultofthis change, thetrial has been pushed
back to February 12,20]7 . fhal gives us 55 days. We will have to expedite this as quickly as
possible and hope for the best. I will inform the prosecutor. Based on past conversations with him,
he will no doubt wish to contact whoever at headquarters is handling this. Do you happen to know
the best person to speak to?
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Fax: (301) 504-2025
Stanlev.Wojtkonski@oigJsda.gov


From: JACOBSON, MIKE UAKE)
Sent: Tuesday, December 19, 2017 2:55 PM
To: WOITKONSKI, STANLEY <STANLEY.WOJTKONSKI@oig.usda.gov>;         CASTALDO, VINCENT
<VINCENT.CASTALDO@
Subject: RE: DVR for Corner Groceries HY-2748-2064


Stan,


lforwarded itto HQforfurther action. Based on the activity to date, lcansafelysayif thetrial
occurs within the next 60 days, this will not be done in time.


Mike Jacobson


rTom: WOJTKONSKI, STANLEY
Sent: Tuesday, December 19, 2077 !:17 PM
To: CASTALDO, VINCENT <VINCENT.CASTALDo@ >; JACOBSON, MIKE                     (.|AKE)
<mike.iacobsol@oigr.usda€oy>
Subject: RE: DVR for Corner Groceries HY-2748-20


ln a trial prep meeting with the AUSA right now. Do we have an update on the DVR for HY-2748-
2054 CORNER GROCERIES?



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Fax: (301) 501-2025
Stanley.Woitkonski @oig.usda.Cov


FTom: CASTALDO, VINCENT
S€nt: Tuesday, November 28, 2017 6:08 PM
To: WOJTKONSKI, STANLEY       <STANLEY.WO.ITKONSK               >; JACOBSON, MIKE (JAKE)
<mike.jacobson @oig.usda.gov>
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Subject: RE: DVR for Corner Groceries HY-2748-2064


Called DME Forensics and they are putting together a bid and some paperwork and will contact me.


FTom: WOJTKONSKI, STANLEY
Sent: Tuesday, November 28, 2017 2:24 PM
To: CASTALDO, VINCENT <VINCENT.CASTALDO@oig.usda.gov>; JACOBSON, MIKE (JAKE)
<mikeJacohson@og.usdagov>
Subiect: RE: DVR for Corner Groceries HY-2748-2054


Yes, Please contact them. Lets find out what they can do. I forwarded your email to the prosecutor
and let him know we will make contact with the software company. We can figure out payment
after we see if they can help.



Stan Wojtkonski
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Beltsville, MD 20705


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Fax: (301) 504-2025
Stanlev.Woitkonski@oig.usda.gov


From: CASTALDO, VINCENT
Sent: Tuesday, November 28, 2017 2:48 PM
To: JACOBSON, MIKE (JAKE) <mike.iacobson@oig.usda.go\p; WOJTKONSKI, STANLEY
<STANLEY.WOiTKONSKI @oig.usda.gov>
Subject: RE: DVR for Corner Groceries HY-2748-2054


Stan,


Unfortunately we have exhausted all options to recover any video directly from this   DVR.


We have tried the automated DVR software, networking directly into the DVR, exporting the video to
a USB drive from the DVR itself and making a copy of the drive and trying to export the video from
the file system itself but all have failed.


The main problem we have had with the device is it shuts down and restarts after a few minutes   of
running.
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recipient, please notify the sender immediately and delete the contents of this message wfiout disclosing
the contents to anyone, using them for any purpose, or storingy'copying the information on any medium.


From: WOiTKONSKI, SIANLEY
Sent: Tuesday, December 19, 2077 4:53 PM
To: DODSON, TIMoTHY <TIMOTHY.DoDSON @oig.usda.gov>
Subject: FW: DVR for Corner Groceries HY-2748-2054


Tim,


Below is my correspondence with TCD regarding the store DVR needed for the Corner Groceries (HY-
2748-2064) juy trial which is scheduled for February 12, 2018. As usual, TCD has been most helpful
and responsive in this matter. Unfortunately, the store DVR is glving TCD problems and they need      to
send it out to the private company that makes the forensic DVR analyzing software TCD uses. The
forensic company will need to do a hands-on physical extraction themselves. TCD has requested
funding from headquarters to send the DVR to the private company. That authorizationfunding has
not yet materialized. Can you please inquire as to the status of this request? This DVR could be the
lynchpin of the jury trial and I want to represent to the prosecutor that we are expediting this.
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   Case 1:16-cr-00430-CCB Document 136-3 Filed 12/21/18 Page 11 of 44
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   Case 1:16-cr-00430-CCB Document 136-3 Filed 12/21/18 Page 12 of 44
   Case 1:16-cr-00430-CCB Document 136-3 Filed 12/21/18 Page 13 of 44


From: WOJTKONSKI, STANLEY
Sent: Monday, November 20, 2017 8:25 AM
To: JACOBSON, MIKE (JAKE) <mike.jacobson @oi8.usda.gov>
Subject: DVR for Corner Groceries HY-274a-2064

Mike,


Can you give me the status of the store DVR download for this case? I just got off the phone   with
the AUSA and he wanted me to get a timeframe. I recall Jim saying it wasn't being cooperative with
the normal DVR software but time is getting short for us as we prepping for trial.



Stan Wojtkonski
Special Agent
office of lnspector General
Investigations
USDA


5601 Sunnyside Ave
Suite 2-2230
Beltsville, MD 20705


Cell: (301) 789-40s2
Fax: (301) 504-2025
stanlev.woitkonski@oig.usda.gov
      Case 1:16-cr-00430-CCB Document 136-3 Filed 12/21/18 Page 14 of 44

                          +r*-




 From: WOJTKONSKI, STANLEY
Sent: Wednesday, January 03, 2018 2:55 PM
To:Dl NKINS, BETH <beth.dinkins@oig.usda.gor>

Cc: DODSON, TIMOTHY <TIMOTHY.DODSON@oig.usda.gow;       REPP, DEREK
<derek.repp @oig.usda.goy>
Subject: Re: DVR for Corner Groceries HY-2748-20


Beth,

Thanks for the update. I forwarded your questions regarding the affidavit to AUSA Sean
Delaney. I will follow up with him shortly.




Stan Wojtkonski
SpecialAgent
Office of lnspector General
lnvestigations
USDA


5601 Sunnyside Ave
Suite 2-2230
Beltsville, MD 20705


Cell: t3O1l 7894052
    Case 1:16-cr-00430-CCB Document 136-3 Filed 12/21/18 Page 15 of 44


Fax: (301) 504-2025
@

----    Original message --------
From: "DINKINS, BETH" <beth-drnkins@oigrsda,goy>
Date: l/3/18 12:25 PM (GMT-05:00)
To: "WOJTKONSKI, STANLEY" <STANLFY.WOJTKON
Cc: "DODSON, TIMOTHY"            @,                                            "REPP, DEREK"
<erct repp@oigusOa,gov>
Subject: RE: DVR for Comer Groceries HY-2748-2064

Hi Stan, and Happy New Year.


I just spoke to Jake and the agreement for the contractor is moving along. As soon as Jake gets the

"go-ahead", he will ship out the DVR image for next day delivery to the consultant.


ln the meantime, we (in conjunction with your AUSA) need to be prepared to tell the consultant
what we want/need from them. According to Jake, it is standard procedure for the consultant to
provide an affidavit explaining the details of the extraction (in lieu of them sending someone to
testiry to this information at trial). Doesthe District havea "go-by'' affidavit in a format that would
be acceptable for your purposes at trial? Can you work on figuring that piece out so that we have
something to send along as soon as we get the word that the work can commence? Please let me
know your thoughts so that we can reply to Ann/ake when asked.


Thanks.


Here is the language from the Justification For Other Than Full and Open Competition that Jake
prepared for Procurement. The relevant portion pertaining to the affidavit is highlighted below for
your information:


A description of the supplies or services required to meet the    Agends    needs (including the
estimate value).

OIG TCD requires the servlces of DME Forensics immediately due to the urgency of an upcoming trial
date. Specifically, DME Forensics is a software company that reverse-engineers the many
proprietary file systems that run DVRS. DME Forensics provides forensic software so that digital
forensic units can quickly and efficiently extract video from the devices; however, not all DVRS are
supported. DME Forensics will examine unsupported DVR5 and extract video (as a service) or update
their software to support the device.

OIG TCD requires DME Forensics to examine the DVR data and L) Provide an update to      their
software to support the device, or 2) Extract the data manually, and 3) Provide an Affidavit
explaining the details of the extraction.
    Case 1:16-cr-00430-CCB Document 136-3 Filed 12/21/18 Page 16 of 44




Bethaw      ,e M.DLwlzLws
Special Agent-in-Char8e
USDA-OlG-l nvestigations
26 Federal Plaza, Room 1409
New York, NY 10278
otfice 272-254-3507
cell 917-359-0736
fax212-264-8476


From: WOJTKONSKI, STANLEY
Sent: Thursday, December 21, 2Ol7 3:25 PM
To: DINKINS, BETH <beth-d.inkios@oig.usdn€o\P; DODSON, TIMOTHY
<TIMOTHY.DODSON @o
Subject: RE: DVR for Corner Groceries HY-2748-2064


Thank you, Beth. My thanks to everyone who has been trying urgently to get this done.



Stan Wojtkonski
Special Agent
Office of lnspector General
lnvestigations
USDA


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Beltsville, MD 20705


Cell: (301) 789-40s2
Fax: (301) 5U-2O25
Stanlev.Wojtkonski@oig.usda.   gov


From: DINKINS, BETH
Sent: Thursday, December 21, 2017 3:20 ?M
To: DODSON, TIMOTHY <TIMOTHY.DODSoN @oig-usda.gov>
Cc: WOJTKONSKI, STANLEY <STANLEY.WOJTKONSKI @ois.usda.gov>
Subject: FW: DVR for Corner Groceries HY-2748-2064
lmportance: High

See below. Jake .iust confirmed that TCD has the DVR and will ship it out as soon as instructions are
received from the vendor. I will be in the office tomorrow and will make sure that Peter
understands the urgency of getting this processed and the DVR sent out to the vendor tomorrow      if
possible given the looming Government shutdown.
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Bethawwe M.>LwlzLws
Special Agent-in-Charge
USDA-OlG-lnvestigations
26 Federal Plaza, Room 1409
New York, NY 10278
otfice 2\2-264-3507
cell 917-359-0735
fax272-264-8476


From: PARADIS, PETER
Sent: Thursday, December 2L, 2017 3:16 PM
To: DINKINS, BETH <beth.dinkins@oig.usda.gop; BOYD, LONNIE <lONNIEBOyD@oigrsrla€oP;
JACOBSON, M IKE (JAKE) <mike-jacobson@oig.usda-8or>
Cc: PARADIS, PETER <PETER.PARADIS@oig.usda.gov>
Subiect: RE: DVR for Corner Groceries HY-2748-2054
lmportance: High

Alt,


Ijust spoke to Desiree Clayton (oM/PRo) and she will have Peter Lee iump on processing this AD-
700-1259 for the DVR review in the absence of Linda Josey. Peter Lee will attempt to contact the
recommended vendor etc. to complete the processing of the AD-700.


Beth and/or Jake   -   you may receive a call from Peter Lee or the vendor or whomever regarding
logistics to send the DVR for review.


Pete


?eter ?. ?ara[is, Sr.

Peter P. Paradis, Sr.
Deputy Assistant Inspector General
OfTice of Investigations
Office of Inspector General
US Department of Agriculture
Desk: (202)720-3307
Mobile: (202)573-3865

From: DINKINS, BETH
Sent: Tuesday, December 19, 2017 8:51 PM
To:    BOYD, LONNIE <LON NIE.BOYD@oig.usda.gov>
CC: PARADIS, PETER     <PI]I8,PA8ADI5@oigJJ5daSay>
subject: FW:   DVR   for Corner Groceries HY-2748-2064
    Case 1:16-cr-00430-CCB Document 136-3 Filed 12/21/18 Page 18 of 44



Good evening, Lonnie


Iam not quite sure where to start with inquiries regarding the below-referenced problem. The short
story is that TCD has run into problems retrieving video from a store DVR seized during a search
warrant. The store owner, Mahmood Shah, initially pled guilty but subsequently claimed ineffective
assistance of counsel and his request to withdraw hisguilty plea was granted. Shah is now
scheduled for trial beginning on Feb.uary 12,2OI7 .

TCD has informed us that the only hope to retrieve the DVR video is to send it to a third party
contractor, DME Forensics, to perform a hands-on physical extraction. Apparently the company was
contacted and a bid for the work obtained. According to Jake, a request for funding for this work
was submitted to HQ for further action" but I do not know to whom nor can I tell the status of this
request.


ln essence, this DVR is a potentially important piece of evidence for the trial and the AUSA is actively
asking for our assurances that we are doing everything possible to expedite the necessary forensic
examination so that he will have the evidence he feels he needs for trial. However, based on Jake's
opinion below, even if the funding   is secured,   time is running out to get the work done in time for
our needs.

This case DOES have an asset forfeiture component.


lf you know anything about the status of this request, can you please update me and/or point me in
the right direction. With the holidays coming up and/or a possible shutdown, I would like to be able
to either secure the funding to get this work done, or provide the AUSA with an explanation      as   to
why we cannot.


Thank you


Eletha wwe I'A. DLwlzi"ws
Special Agent-in-Charge
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26 Federal Plaza, Room 1409
New York, NY 10278
olfice 272-264-3507
cell 917-359-0736
fax 272-264-84L6


From: DODSON, TIMOTHY
Sent: Tuesday, December 19, 2Ol7 5:02 PM
To: DINKINS, BETH <belb jinkins@oig.usdn gov>
Cc WOJTKONSKI, STANLEY <STANLEY.WO]TKONS >
Subject: FW: DVR for Corner Groceries HY-2748-2064
   Case 1:16-cr-00430-CCB Document 136-3 Filed 12/21/18 Page 19 of 44



Cood Aftemoon:

Please see below regarding a potential evidentiary issue in HY-2748-2064        trial prep and discovery.
TCD experienced technical di{Iiculty attempting to examine this DVR. They need to send it to a
private contractor / vendor to accomplish this task. TCD submitted the funding request to HQ
around the begiming of December, but it seems to be tied up in limbo. Could you check and see
what is causing the delay?

We need to get this done so the item can be reviewed before the trial starts.

Feel free to contact me   if you have any questions or concerns. Thank you.

Regards,


7*      2nZ,n
Tim Dodson, ASAC
SYR-BzuG/NER
USDA-OIG.OI
Desk: 301-504-2005
Cell:   202-579-7182


coNFlDENTlALlry NOTICE: This email, and any attachments, are confidential. lf you are not the named
recipient, please notify the sender immediately and delete the contents ofthis message without disclosing
the contents to anyone, using them for any purpose, or storingy'copying the information on any medium.


From: WOJTKONSKI, STANLEY
Sent: Tuesday, December 19,7OL7 4:53 ?M
To: DODSON, TIMOTHY <TIMOTHY.DODSON @oig.usda.gov>
Subiect: Fw: DVR for Corner Groceries HY-2748-2064


Tim,


Below is my correspondence with TCD regarding the store DVR needed for the Corner Groceries (HY-
7748-20641jury rrial which is scheduled for February 12, 2078. As usual, TCD has been most helpful
and responsive in this matter. Unfortunately, the store DVR is giving TCD problems and they need to
send it out to the private company that makes the forensic DVR analyzing software TCD uses. The
forensic company will need to do a hands-on physical extraction themselves. TCD has requested
funding from headquarters to send the DVR to the private company. That authorizationffunding has
not yet materialized. Can you please inquire as to the status of this request? This DVR could be the
lynchpin of the iury trial and I want to represent to the prosecutor that we are expediting this.



Stan Wojtkonski
Special Agent
office of lnspector General
    Case 1:16-cr-00430-CCB Document 136-3 Filed 12/21/18 Page 20 of 44


lnvestigations
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Suite 2-2230
Beltsville, MD 20705


Cell: (301) 7a9-4052
Fax: (301) 5O4-2025
Stanlev.Wojtkonski@oig.usda.gov


From: WOJTKONSKI, STANLEY
Sent: Tuesday, December 19, 2017 4:38 PM
To: JACOBSON, MIKE (JAKE) <MIKE.JACoBSON@oig-usda.gov>; CASTALDO, VINCENT
(Vl NCENT.CASTALDO@oig.usda.gov)      <Vl NCENT.CASTALDO@oi8.usda.gov>

Subject: RE: DVR for Corner Groceries HY-2748-2054


The iudge presiding over the trial just changed. As a resu lt of this cha nge, thetrial hasbeen pushed
back to February 12, 2017. That gives us 55 days. We will have to expedite this as quickly as
possible and hope for the best. I will inform the prosecutor. Based on past conversations with him,
he will no doubt wish to contact whoever at headquarters is handling this. Do you happen to know
the best person to speak to?



Stan Wojtkonski
Special Agent
Office of lnspector General
lnvestigations
USDA


5601 Sunnyside Ave
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Beltsville, MD 20705


Cell: (301) 789-4osz
Fax: (301) 504-2025
Stanlev.Woitkonski @oig-usda.gov


From: JACOBSON, MIKE UAKE)
Sent: Tuesday, December 19, 2077 4:27 PM
To: WOJTKONSKI, STANLEY <STAN LEY.WoITKONSKI @oig.usda.gov>
Subiect: RE: DVR for Corner Groceries HY-2748-2064


Probably   both. I don't know yet if it's inaction necessarily or the speed at which things move
through the process. Even lf it were there today, I don't see how it can be done in time from      a
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   Case 1:16-cr-00430-CCB Document 136-3 Filed 12/21/18 Page 22 of 44
     Case 1:16-cr-00430-CCB Document 136-3 Filed 12/21/18 Page 23 of 44


Suite 2-2230
Beltsville, MD 20705


Cell: (301) 789-4052
Fax: (301) 5U-7O25
Sta n ley.   Woitko   n   ski@oig.   u sd   a.gov


From: CASTALDO, VINCENT
Sent: Tuesday, November 28, 2077 2:48 PM
To: JACOBSON, MIKE (JAKE) <mike.iacobson @oig.usda.go\D; WOJTKONSKI, STANLEY
<STANLEY.WOITKONSKI @oig.usda.gov>
Subject: RE: DVR for Corner Groceries HY-2748-2064


Stan,


Unfortunately we have exhausted all options to recover any video directly from this      DVR.


We have tried the automated DVR software, networking directly into the DVR, exporting the video to
a USB drive from the DVR itself and making a copy of the drive and trying to export the video from
the file system itself but all have failed.


The main problem we have had with the device is it shuts down and restarts after     a   few minutes of
running-


The only option I think we have at this point is Inquire with the company who makes the automated
DVR  software and request their assistance.
This would involve me sending them a copy of the hard drive, see if they can determine the files
system, and recover the video.
I   have never gone this route and have now idea the cost for this service. lf you want me to inquire
about this let me know.




From: iACOBSON, MIKE (JAKE)
Sent: Monday, November 20, 2Ot7 8:26 AM
To: CASTALDO, VINCENT <VINCENT.CASTALDO@oig.usda.gov>
Subject: FW: DVR for Corner Groceries HY-2748-2064


For you.-. When you return




From: WOJTKONSKI, STANLEY
Sent: Monday, November 20, 2017 8:25 AM
To: IACOBSON, MIKE (JAKE) <mike.iacobson @oig.usda.gov>
   Case 1:16-cr-00430-CCB Document 136-3 Filed 12/21/18 Page 24 of 44


Subject: DVR for Corner Groceries HY-2748-2064

Mike,


Can you give me the status    ofthe store              for this case? ljust got offthe phone with
                                            DVR download
the AUSA and he wanted me to get a timeframe. I recall]im saying it wasn't being cooperative with
the normal DVR software but time is Setting short for us as we prepping for trial.



Stan Wojtkonski
Special Agent
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Fax: (301) 504-2025
Stanlev.Woitkonski@oig.usda.gov
      Case 1:16-cr-00430-CCB Document 136-3 Filed 12/21/18 Page 25 of 44



Fmm:                 WO]TKONSKI. STANEY
Tol                  DINnNS. BETH; DODSON. TIMOTFIY
Sllbiect:            Re: DVR for Co.ner Groet'1fs tN-2748-20E,.
Datel                Tuesday, lanuary $), 2018 10:16:03 Al.l


I understand Jake's frustration throughout this process. The Bureau placed this device in
evidence when it was seized as part of the large Baltimore SNAP takedown in 2016. They
maintained all the evidence from that takedown, including all DVRs from any subject store
that had a security system. The Bureau gave us several DVRs from multiple subject stores
shortly after the takedown in order to split the forensic workload. They kept the other DVRs
with the intention ofhaving their folks do the work on the ones they kept. The DVR in
question is one that they kept All the DVRs OIG received were sent to TCD and examined in
short order and without incident. Due to our defendant, Mahmood Shah, initially pleading
guilty, the Bureau did not do an exam of this particular DVR. When Shah withdrew his plea
agreement, and time became short, the Bureau tumed the device over to OIG for exam. We
sent it shortly thereafter to TCD who has been extraordinary in their efforts. It will be made
crystal clear to the prosecutor when TCD became involved and under what circumstances. I
am very confident this situation will not reflect negatively on the immense efforts that TCD
has made to      fill this request.




Stan Wojtkonski

Special Agent

Office of [nspector General

Investigations

USDA



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Stanley.Wojtkonski@.oig.usda.gov

----        Original message --------
    Case 1:16-cr-00430-CCB Document 136-3 Filed 12/21/18 Page 26 of 44




 From: WOJTKONSKI, STANLEY
Sent: Wednesday, December 20, 2017 !7:22 AM
To: IACOBSON, MIKE (JAKE) <mike.jacobson@oig.usda.go!r>
Subject: R!:   DVR   for Corner Groceries HY-2748-20

No apology needed. You and your folks have come through for me every single time I needed
anything, no matter the time frame or how extensive my requests have been. I have never been let
down by TCD and that record still stands. This is outside of what even TCD can do. We need outside
help and time. We may get one and have little of the other. All we can do is continue to push the
rock uphill and hope. You have myihanls for the massive amount of effort your shop is putting into
this.



Stan Wojtkonski
SpecialAgent
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Cell: (301) 789-4052
Fax: (301) 5O+2O25
Stanley.Woitkonski@oig-usda-sov


F]OM: JACOBSON, MIKE (JAKE)
Sent: Wednesday, December 20, 2017 9:47 AM
To: WOJTKONSKI, STANLEY <STANLEY.WO.ITKONSKI@
Subiect: RE:   DVR   for Corner   G   ro ceries HY-2748-2064


Sta n,
      Case 1:16-cr-00430-CCB Document 136-3 Filed 12/21/18 Page 27 of 44



 Frcm:             DINKINS- BETH
 Tol               WO]TKONSKI- STANLEY: DODSON. TIT4OTHY
 Subiect:          RE: DVR fur Comer Grcceries FfY-27,18-2064
 Datel             Thursday, Decernber 21, 2017 3132:04   lN

No problem. Crisis management is our specialty...


I looked in Sharepoint and apparently the AD-700 was prepared by Jake yesterday and approved by
Lonnie yesterday. Unfortunately no one felt the need to tell me ofthis progress until I started asking
today....


I   am in touch with Jake to get the DVR sent out tomorrow.


Bethawwe t 4. >LwlzLws
Special Agent-in-Charge
USDA-OlG-lnvestigations
26 Federal Plaza, Room 1409
New York, NY 10278
ollice 212-264-3507
cell 917-359-0736
fax 212-264-8416


From: WOJTKONSKI, STANLEY
Sent: Thursday, December 21, 2OL7 3:25 PM
To: DINKINS, BETH <beth.dinkins@oig.usda.go\D; DODSON, TIMOTHY
<Tl MOTHY.DODSON       @oig.usda.gov>
Subject: RE: DVR for Corner Groceries HY-2748-2064


Thank you, Beth. My thanks to everyone who has been trying urgently to get this done.



Stan Wojtkonski
Special Agent
Office of lnspector General
lnvestigations
USDA


5601 Sunnyside Ave
Suite 2-2230
Beltsville, MD 20705


Cell: (301) 789-4052
Fax: (301) 504-2025
Stanley.Woitkonski@oig.usda.gov
          Case 1:16-cr-00430-CCB Document 136-3 Filed 12/21/18 Page 28 of 44




     From: WoJTKoNSKI, STANLEY Imailto:STANLEY.WOJTKoNSKI@oig.usda.gov]
     Sent: Wednesday, November 29, 2017 1:30 PM
     To: Delaney, Sean (USAMD) <SDelaney2@usa.doj.go\D; Heather Grow (heather.grow@ic.fbi'gov)
     <heather.grow@ic.fbi.gov>
     Subject: FW: DVR for Corner Groceries HY-2748-2064


     Technical Crimes has cootacted DME Forensics and they are putting together a cost to assist with
     the DVR. Looks like my HQ is going to pay for it. I will let you know if that is not the case.



     Stan Wojtkonski
     Special Agent
     Office of lnspector General
     lnvestigations
     USDA


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     Suite 2-2230
     Beltsville. MD 20705


     Cell: (301) 7894052
     Fax: (301) 504-2025
     Stanlev.Wojtkonski@oie.usda.gov


     From: CASTALDO, VINCENT
     sent: Tuesday, November 28, 2017 6:08 PM
     To: WOJTKONSKI, STANLEY <SIANLEY.WOITKONSKI@oig.Usda.gov>; JACOBSON, MIKE UAKE)
     <mitre.iacobsatr@oigJJsda >
     Subiect: RE:   DVR   for Corner Groceries HY-2748-2064

     Called DME Forensics and they are puttingtogether a bid and some paperwork and will contact me


     From: WOJTKONSKI, STANLEY
     sent: Tuesday, November 28, 2O17 2:24 PM
     To: CASTALDO, VINCENT <VINCENT.CASTALDo@oig.Usda'gov>;        JACOBSON, MIKE UAKE)
.-   <mile.iacobson@olg^us
     SuEie-ct: RE: DVR for Corner Groceries HY-2748-2064
    Case 1:16-cr-00430-CCB Document 136-3 Filed 12/21/18 Page 29 of 44



From:              DINKINS. BETH
To:                WOITKONSKI. STANLEY: DODSON. TIMOTHY
subiect:           RE: DvR for comer Grocen6 tN-274E-2064.
Date:              Tuesday, January 09, 2018 10:25:00 AM


Thank you for the explanation. Asyou may or may not know, one of Jake's pet peeves isgetting
digital evidence once it has previously gone to another agency for processing. So I think that part of
the story may have something to do with Jake's frustration.

Itotd Ann this morning that I am not intentlonally trying to make Jake angry. By my inquiries, I am
slmply trying to make sure that this is moving along, and that everyone is aware of the pressures
that we/you are facing from the U.S. Attorney's Office, Given today's status, I spoke to Tim and
suggested that preliminary discussions commence with the AUSA regarding what may or may not be
posslble in time for trial.




Bethawwe t t. >LwlzLws
Special Agent-in-Charge
USDA-OlG-l nvestiBations
26 Federal Plaza, Room 1409
New York, NY 10278
office 2L2-264-35O1
cell 917-359-0736
tax 272-264-843.6


From: WOJTKONSKI, STANLEY
Sent: Tuesday, lanuary 09, 2018 10:16 AM
To: DINKINS, BETH <beth.dinkins@oig.usda.gop; DoDSON, TIMOTHY
<TIMOTHY.DODSON@oig.usda.gov>
Subject: Re: DVR for Corner Groceries HY-2748-2054

I understand Jake's frustration throughout this process. The Bureau placed this device in
evidence when it was seized as part of the large Baltimore SNAP takedown in 2016. They
maintained all the evidence from that takedown, including all DVRs from any subject store
that had a security system. The Bureau gave us several DVRs from multiple subject stores
shortly after the takedown in order to split the forensic workload. They kept the other DVRS
with the intention ofhaving their folks do the work on the ones they kept. The DVR in
question is one that they kept All the DVRs OIG received were sent to TCD and examined in
short order and without incident. Due to our defendant, Mahmood Shah, initially pleading
guilty, the Bureau did not do an exam of this particular DVR. When Shah withdrew his plea
agreement, and time became short, the Bureau tumed the device over to OIG for exam. We
sent it shortly thereafter to TCD who has been extraordinary in their efforts. It will be made
crystal clear to the prosecutor when TCD became involved and under what circumstances. I
am very confident this situation will not reflect negatively on the immense efforts that TCD
has made to    fill this request.
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Tim Dodson
Tim Dodson, ASAC
SYR-BRIG / NER
USDA-OIG-OI
Desk: 301-50+2005
Cell   202-579-'1182



CONFIDENTIALTTY NOTICE: This email, and any attachments, are confidential. Ifyou are not the named
recipient, please notifo the sender immediately and delete the cont€nts ofthis message without disclosing th€
contents to anyone, using them for any purpos€, or storing/copying the information on any medium.

From: WOJTKONSKI, STANLEY
Sent: Tuesday, December 19,2017 4:53 PM
To: DODSON, TIMOTHY TIMOTHY.nODSONAoiS.usda.Sov<mailro:TIMOTHY.DODSON@oig-usda-8ov
subject; Fw: DVR for Comer Cmceries Hy-2748-2o64

Tim.

 Below is my correspondence with TCD regarding the store DVR needed for the Comer Groceries (HY-2748-2064)
jury triat irhich is scheduled for February 12, 2018. As usual, TCD has been most helpful and responsive in this
 matter. Unfortunately, the store DVR is giving TCD problcms and they need to send it out to the private company
 that makes the forensic DVR analyzing soft\l'are TCD uses. The forensic company will need to do a hands-on
 physical ext-action thernselves. TCD has requested funding from headquarters to send the DVR to the Private
 company. That authorizatior/funding has not yet matedalized. Canyou please inquire as to the status ofthis
 request? This DVR could be the lynchpin ofthe jury trial and I want to represert to the proseculor that we are
 expediting this.



Stan Wojtkonski
Special Agent
OfIice of Inspector General
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Fax: (301) 504-2025
Stanlev.Woitkonski?-loig.usda-gov<mailto:Stanley-Wojtkonski@oig-usda.gov>

From: WOJTKONSKI, STANLEY
Sent: Tuesday, December 19,2017 4:38 PM
To: JACOBSON, MIKE (JAKE)
<MIKE-JACOBSON@oig@;                                                                  CASTALDO, VINCENT
         DO@o
ffINCFNT.CASTAI                                                                            )

Subject: RE: DVR for Comer Groceries HY-2748-2064

The judge presiding over the tdal just changed. As a result ofthis change. the trial has been pushed back to
February 12. 2017. That gives us 55 days. We $'ill have to expedire this as quickly as possible and hope for the
best. I rvill inform the prosecutor, Based on past conversations with him, he will no doubt wish to contact whoever
at headquarteB is handling    this. Do you   happen to know the best person to speak to?
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Fax: (301) 50,1-2025
Stanlev-Wojtkonski@oig.usda-gov<mailto:Stanlev-Wojtkonski@oig.irsda.gov>

From: JACOBSON, MIKE (JAKE)
Sent: Tuesday, Dec€mber 19,2011 4:27 PM
To: WOJTKONSKI, STANLEY
<STANI   FY.WOJTKONSKI@o                                                                           >
Subject: RE: DVR for Comer Groceries [fY-2748-2M4

Probably both. I dont know yet if it's inaction necessadly or the speed at which things move through the process-
Evol if it were there today, I don't see how it can be done io time from a t€chnical slandpoint, let alone a review
standpoint.

From: WOJTKONSKI, STANLEY
Seot: Tuesday, Decernbet 19,2017 2:59 PM
To: JACOBSON, MIKE (JAKE) <mikejacobson@oig.@;
CASTALDO, VINCENT
<VTNCENT.CASTALDO@o
Subjecf RE: DVR fo! Comer Groceries HY-2748-2064

Is your opinion bas€d on the scop€   of work to be done by the 3rd party company, or inaction abovc TCD to get the
process approved?



Stan Wojtkonski
Special Agent
Ofiice of Inspector General
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Far (301) 50,t2025
StanleJ...WojtkonskirAioig.usda.gov<mailb:Stanlev.Wojtkonski@oig-usida.gov>

From: ,ACOBSON, MIKE (JAKE)
SenL Tuesday, December 19,2017 2:55 PM
To: WOJTKONSKI, STANLEY
<STANI FY.WOJTKONSK                                                                               >; CASTALDO,
VINCENT <VINCENT.CASTALDO@o
Subject: RE: DVR for Comer Grocedes HY-2748-2O64
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Stan.


t forwarded it to HQ for furthcr action. Bas€d on the activity to date, I can safely say ifthe trial occurs within the
next 60 days, this will not be done in time.

Mike Jacobson

From: WOJTKONSKI, STANLEY
Sent: Tuesday, December 19, 2017 1:17 PM
To: CASTALDO, VINCENT
<VINCEN'T.CASTALD                                                                               ; JACOBSON,     MIKE
(JAKE) <mik€jacohson@oig.us&                                                      >
Subject RE: DvR for Comer Groceries HY-274E-2W

In a t.ial prep meeting with th€ AUSA right now. Do u'€ have an update on the DvR for HY-2748-2064 CORNER
GROCERIES?



Stan    wojtkonski
special Agent
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Fax: (301) 504-2025
Stanle],.Wojtkonski@oig.usda-gov<mailm:Stanley-Wojtkonski@oig.usda-gov>

From: CASTAIDO, VINCENT
Sent: Tucsday, November 28,2017 6:08 PM
To: WOJTKONSKI, STANLEY
<STANLEY.WOJTKONSKI                                                                                    ;   JACOBSON,
MIKE (JAKE) <mikejacobson@oig                                                            >
Subject: RE: D\rR for Comer Groceries HY-274E-2064

Called DME Forensics and they are putting together a bid and some paperwork and u'ill contact me.

From: WOJTKONSKI, STANLEY
Sentr Tuesday, November 28, 2Ol7 2:24 PM
To: CASTALDO, VNCENT
<VTNCFNT.CASTALDOAo                                                                             ; JACOBSON,     MIKE
(JAKE) <mike jacohson@oip
Subject: RE: DVR for Comer Groceries HY-2748-2064

Yes. Please contact them. Lets find out what they can do. I forwarded your email to the Fosecutor and let him
knorv rve will make contact with the software company. We can figure out payment after we see ifthey can help.



Stan Wojtkonski
Special Agent
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Stanley-WoitkonskiAoig.usdago\.<mailto:SlanleJ-.Woitkonski@oig-usdagov>

From: CASTALDO, VINCENT
Sent: Tuesday, November 28, 2017 2:48 PM
To: JACOBSON, MIKE (JAKE)          <oikeiacohson@oig.                                                    >;
WOJTKONSKI, STANLEY
<S]-ANI FY.WOJTKONSK
Subject: RE: DVR for Comer Groceries Hy-2'14E-2064

Stan.


Unfoftunately we have exhausted all options to recover any vid€o directly ftom this DVR.

We have tded the automated DVR software, networking directly into the DVR, exporting the video to a USB drive
from rhe DVR itselfand making a copy ofthe drive and trying to export the video from the file system itselfbut all
have failed.


The main problem we have had with the device is it shuts do\in and restarts after a few minutes ofrunning.

The only option t think we have at this point is inquire with the company who makes the automated DVR software
and request their assistance.
This would involve me sending than a copy ofthe hard drive, see ifthey can determine the Iiles system' aod
recover the video.
I have never gone this route and have now idea the cost for this servica. Ifyou riant me to inquire about this let me
know.




From: JACOBSON, MIKE (JAKE)
Sent: Monday, November 20, 2017 8:26       AM
To: CASTAIDO, VINCENT
<VINCFNT-CASTAI,
Subject: Fw: DvR for Comer Groceries HY-2748 2064

For you.., when you retum.



Fmm: WOJTKONSKI, STANLEY
Sent; Monday, November 20, 2017 8:25 AM
To: JACOBSON, MIKE (JAKE) <mike jacobrcn@oig-
Subjecl: DVR for Comer Groceries HY-274E-206,1

Mike.

Can you give me the status of the slore DVR download for this case? I just got offth€ phone with the AUSA and he
wanted me to get a timeframe. I recall Jim saying it wasn't being cooperative with the normal DVR software but
lime is getting short for us as we prepping for trial.



Stan Wojtkonski
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       Case 1:16-cr-00430-CCB Document 136-3 Filed 12/21/18 Page 35 of 44




              Messsge-
 -Ordginal
 Fmm: WOJTKONSKI, STANLEY
Seot: Monday, January 08, 2018 1:17 PM
To: DINKINS, BETH <betLdinkin(@oig.usda.gov>
Subject: FVr': DVR for Coraer Gmced€s IfY-2748!2064

Beth,

The pros€cutols response is below. Perhaps DME Forersics bas us€d an affdavit in the past oo state cdminal
cases. AUSA Delaney is pretty clear that in fedeml court for the admission ofthis evidenc€, in person testimony is
required unless the defense stipulates to the authenticity ofthe video extraction, which does oot appear likely at this
poht I am sure tlfs is not the snswer DME wants, but ifs whst I have-


Stan   Wojtkorski
Special Ag€,1t
Off ce of Itrsp€cior G€neral
Iuvestigations
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Stadey.Woj&oaski@oig.usdagoy

             Message--
--Original
          Case 1:16-cr-00430-CCB Document 136-3 Filed 12/21/18 Page 36 of 44


      From: Delaney, Sean (USAMD) [mailESeaD.Dehlst@usdCi.Soy]
      Sent: Monday, January 08, 2018 l:0J PM
      To: WOJTKONSKI, STANLEY <STANLEY.WOJTKONSKI@oig.usda.gov>
      Subject: RE: DvR for Comer Groceries HY-2748-2064

      No.   I can't have an atldavit. I ne€d the witness who performed the extaction to be prepared to b€ available to
      testi8  at trial. lf I can get a stipulation and save them the rouble, I will. However. I need that person identified and
      available.

      I don't need to remind you that time is ofthe essence on getting this video extracted. The sooner we get it, the
      better. I hop€ and expect it to be extremely helpful to our case and it is absolutely worth the time and effort. Thank
      you and thanks to your agancy for rvorking so hard on getting this done.

      Sean    Delatt*'

                    Message---
      -Original
      Frim: WOJTKONSKI, STANLEY tmailto:STANI                    FY.WO                          I
         Sent Friday, January 5, 20lE 1:09 PM
         To: Delaney, Sean (USAMD) <SDelaney2@usa"doj.gov>
    :,.. Subject: Fwd: DvR for Conitr Groceri6H'{-2748-2o64


1     Need your thoughts on this to make sure the DvR extraction doesnt get further delayed. See belorv




      Stan Wojtkonski
      Special Agent
      Office of Inspector General
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      Beltsville, MD 20705

      Celf ; (30 I ) 7E94052 <tel:(3 0 l)vo207 E9 40 52>
      Fax: (30 1 ) 504-2025 <te|(30 1)o/o20 504-2025>
      Stanley.Wojtkonski@oig.usda gov<Eailto stanl :       ey.   Wojt


      -----    odginal message   ----
      From: "WOJTKONSKI, STANLEY" <STANLEY.WOJTKONSKI@oig.usda.gov>
      Date: U3l18 2:18 PM (GMT{5:00)
      To: "Sean Delaney, (USAMD)" <Sean.Delaney@usdoj.gov>
      Subject: Fwd: DVR for Comer Grocedes HY-2748-2064

      Sean.


      Can you answer my SACS questions immediately below regarding the DVR and the forensic company wanting               to
      submit an affidavit?




      Stan Wojtkonski
      Special Agent
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Fax: (30 I ) 504-2025<tel(301)%20504-2025>
Stanley.Wojtkonski@oig.usda.gov<nai@

-----   Original message -----
From: "DINKINS, BETH" <beth.dinkins@oig.usda.gov>
Date: l/3/18 12:25 PM (GMT-05:00)
To: "WOJTKONSKI, STANLEY' <STANLEY.WOJTKONSKI@oig.usda.gov>
Cc: "DODSON. TIMOTHY" <TIMOTHY.DODSON@oig.usda-gov>, "REPP, DEREK"
<derek.repp@oig.usda.gov>
Subject: RE: DVR for Comer Groceries HY-2748-2064

Hi Stan. and Happy New Year

I   just spoke to Jake and the agreement for the conkactor is moving along. As soon   as Jake gets the "go-ahead", he
will ship out   the DVR image for next day delivery to the consultant,


In the meantimg we (in co[junction with your AUSA) need to be prepared to tell the consultant what \ie wanrneed
from them. According to Jake. it is standard procedure for the consullant !o provide an affdavit explaining the
details oflhe extraction (in lieu ofthem sending someone to testiry to this information at trial). Does the Distdct
have a "go-by" affidavit in a format that \r'ould be acceptable for your purposes at trial? Can you uork on figuring
thal piece out so that we have something to send along as soon as \ e get the word that the work can commence?
Please let me know your thoughts so that $'e can reply to Ann0ake *hen asked.


Thanks.

Here is the language from the Justificalion For Other Than Full and Open Competition that Jake preparcd for
Procurement. The relevant porlion pertaining to the a{fidavit is highlighted belor{ for your information:

A description ofthe supplies or services required to meet the Agency's   needs (including the estimate value).


OIG TCD requires the services ofDME Forensics immedialely due to the urgency ofan upcoming trial date.
Specifically, DME Forensics is a soffware company that reverse-engineers the many propdetary file systems that
run DVRS. DME Forensics prcvides forensic software so that digital forensic units can quickly and efficiently
extract video from the devices; however, not all DVRs are supported. DME Forensics will examine unsupponed
DVRS and exlract video (as a service) or update their sorr**are to suppon the device.

OIG TCD requires DME Forensics to examine the DVR data and l) Provide an update to their software to support
the device. or 2) Extract the dala manually. and 3) Provide an Aflidavit explaining the derails ofthe e(raction.




Bethanne M. Dinkins
Special Agent-in{harge
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New York. NY 10278
of\ce 212-2@-3507
      Case 1:16-cr-00430-CCB Document 136-3 Filed 12/21/18 Page 38 of 44


cell 917 -359-0736
fax 212-264-8416

From: WOJTKONSKI, STANLEY
Sent: Thursday, Decqrt)et 21,2017 3.25 PM
To; DINKINS. BETH <beth.dinkins@oig-usda-gov>;       DODSON, TIMOTHY
<TIMOTHY.DODSON@oig.usda.gov>
Subjecl: RE; DVR for Comer Groceries HY-2748-2O64

Thank you. Beth. My thanks to everyone vho has been trying urgently to gel this done.



Stan   Wojtkonski
Special Agent
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Cell: (301) 7E9-4052
Fax: (301) 504-2025
Stanley.Wojtkonski@oi   g.usda.gov@
From: DINKINS, BETH
Sent: Thursday, December 21, 2017 3:20 PM
To: DODSON, TIMOTHY <TIMOTHY.DODSON@oig.usdagov<Eailro:TIMOTHY.DOD
Cc: WOJTKONSKI, STANLEY
<STANLEY.WOJTKONSKI@oig.usda.gov<lsailro:STANI             FY.wOix                             >
Subject: FW: DVR for Comer Groceries HY-2748-2064
Importance: High

See below. Jakejust confirmed that TCD has the DvR and will ship it out as soon as instructions are received from
the vendor, I will be in the oftice tomorrow and will make sure that Peter understands the ugency ofgefting this
processed and the DvR sent out to the vendor tomorrow ifpossible given the looming Govemment shutdown.

Bethanne M. Dinkins
Special Agent-in-Charge
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26 Federal Plaz4 Room 1409
New York, NY 10278
office 212-264-35O7
cell9lT-359-0736
fax 212-264-t416

From: PARADIS, PETER
Sent: Thursday, Decenber 21,2017 3:16 PM
To: DINKINS, BETH <beth.dinkins@oig.usdagov<mai[a:belh-dipki0@.ig:Jsda.goy>>;
                                                                   BOYD, LONNIE
<LONNIE.BOYD@oig.usdagov<maiIo:LONNIE EQ.YD@oieu$a.goy>>; JACOBSON, MIKE (JAKE)
<mike jacobrcn@oig.usdagov<rnailoitr ikf.iac&hson@oi8Lrsda,8py>>
Cc: PARADIS, PETER      <PETER.PARADIS@oig.usda.gov<oai@
Subject: ItE: DVR for Comer Groceries HY-2748-2064
Importance: High

AI.
       Case 1:16-cr-00430-CCB Document 136-3 Filed 12/21/18 Page 39 of 44



I just spoke to Desiree Clayton (ON{,/PRO) and she will have Peter Lee jump on processing this AD-700-1259 for
the DVR review in the absence ofLinda Josey. Peter Lee willattemptto contact the recommended vendor etc. to
complete the processing ofthe AD-700.

Be& and/or Jake - you may receive a call Aom Peter Lee or the vendor or whomever regarding logistics to send the
DVR for review.

Pete


Peter P. Paradis. Sr.


Peter P. Paradis, Sr.
Deputy Assistant Inspector General
Oflice of Investigations
Oflice of Inspector Gereral
US Depanment of Agdculture
Desk; (202)720-3307
Mobile: (202)573-3865

Fmm: DINKINS, BETH
Sent: Tuesday, Dec€mber 19,2017 8:51 PM
To: BOYD, LONNIE <LONNIE.BOYD@oig.usda.gov<trailo..ilQNN]E EoYD@qig.!sda.8oy>>
Cc: PARADIS, PETER <PETER.PARADIS@oig.usda.gov<mailto :PETER.PARAD
Subject: FW: DVR for Comer croceries Hy-274E-2064

Good evening. Lonnie.

I am not quite sure wherc to start with inquiries regarding the below-referenced problem. The short story is that
TCD has run into pmblems retrieving video fiom a slore DVR s€ized during a search warrant. The store owner.
Mahmood Shah, initially pled guilty but subsequently claimed ineffectiv€ assistance ofcounsel and his request to
withdraw his guilty plea \r'as granted. Shah is now scheduled for trial beginning on February 12,2017.

TCD has informed us that the only hop€ to retrieve the DVR video is to send it to a third party contractor. DME
Forensics, to perform a hands-on physical extraction. Apparently the company was contacted and a bid for the work
obfained. According to Jake, a request for funding for this work was submitted "to HQ for further action" but I do
not know to whom nor can I tell the status ofthis request.

ln essence, this DVR is a potentially important piece ofevidence for the trial and the AUSA is actively asking for
our assurances that we are doing everything possible lo expedite the necassary forensic examination so that he will
have the evidence he feels he needs for trial. Horvever, based on Jake's opinion below, even ifthe funding is
secured, time is running out to get the work done in time for our needs.


This cas€ DOES have an assot forfeiturc component

Ifyou knorv anything about the status ofthis requesl. can you please update me and/or point me in the right
direction. With the holidays coming up and/or a possible shutdown, I r,rould like to be able to either secure the
funding to get this work done, or provide the AUSA with an explanation as to why we camot.

Thank you.

Bethanne M. Dinkins
Special Agent-in-Charge
USDA-OIG-lnvestigalions
26 Federal Plaz4 Room 1409
New York, NY 10278
office 212-264-3507
    Case 1:16-cr-00430-CCB Document 136-3 Filed 12/21/18 Page 40 of 44


cell9lT-359-0736
fut.212-2&-8416

From: DODSON, TIMOTHY
Sent: Tuesday, D€cember 19, 2017 5:02      PM
To: DINKINS, BETH <beth.dinkin@oig.usdagov<maillq:belh.diokiDr@oig.usda.goy>>
Cc; WOJTKONSKI, STANLEY
<STANLEY.\Ir'OJTKONSKI@oig.usda"gov<noailto:STANLFY-wo
Subject: FW: DVR for Comer Groceries HY-2748-2064

Good Aliemoon:

Please see below regardiog a potential evidentiary issue in HY-2748-2064 ti'al prcp and discovery. TCD
experienced technical difficulty attempting to examine this DVR. They need to send it to a private contractor /
vendor to accomplish this task. TCD submitted the funding request to HQ arcund the beginning ofDecember, but      it
seems to be tied up in limbo. Could you check and see what is causing the delay?


We need to get this done so the item can b€ reviewed before the trial stads.

Feel free to contact me   ifyou   have any questions or concems. Thank you.


Regards,


Tim Dodson
Tim Dodson, ASAC
SYR.BRIG / NER
USDA.OIC.OI
Desk: 301-50+2005
Cell:   202-579-7182



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recipient, please notifu the sender immediately and delete the contents ofthis message without disclosing the
contents to anyone, using them for any purpose. or storing/copying the infomation on any medium.

From: WOJTKONSKI, STANLEY
Senc Tuesday, D€cember 19, 2017 4:53 PM
To: DODSON, TIMOTHY           <TIMOTHY.DODSON@oig.usdagov<Eai@>
Subject: FW: DvR for Comer Groceries HY-274E-2M4

Tim,

Below is my conespondence with TCD regarding the store DVR needed for the Comer Groceries (HY-274E-2064)
jury trial which is scheduled for February 12,2018. As usual, TCD has bec! most helpful and responsive in this
matter. Unfortunately, the store DVR is giving TCD pmblems and they need to send it out to the private company
thal makes the forensic DVR analyzing software TCD uses. The forensic company will need to do a hands-on
physical extraction themselves. TCD has requested funding from headquaiers to send the DVR to the private
company. That authorization/funding has not y€t materialized. Can you please inquire as to the status ofthis
request? This DVR could be the lynchpin ofthejury trial and I want to represent to the pros€cutor that we are
expediting this.



Stan Wojtkonski
Special Agent
Oflice of Inspector General
Investigatioos
USDA
    Case 1:16-cr-00430-CCB Document 136-3 Filed 12/21/18 Page 41 of 44



5601 Sunnyside Ave
Suite 2-2230
Beltsville, MD 20705

Cell: (301) 7E94052
Fax: (301) 504-2025
Stanley.Woj&onski@oig.usdagovgailto:Stanle:/-Wojtko

From: WOTTKONSKI, STANLEY
Sent: Tuesday, December 19,2017 4:38 PM
To: JACOBSON, MIKE (JAKE)
<MIKE.JACOBSON@oig.usda.gov@;                                                        CASTALDO, VINCENT
(VINCENT.CASTALDO@oig.usdagov<oailL:VINCENT.CAS                                             )
<vNCENT.CASTALDo@oig.usd8.gov<Eailto:VINCFNT-cA                    s
Subject: RE: DVR for Comer Groceries HY-2748-2064

Thejudge presiding over the trial just changed. As a result ofthis change, the trial has been pushed back to
February 12, 2017. That gives us 55 days. We will have to expedite this as quickly as possible and hope for the
bcst. t will inform th€ prosecutor. Based on past conversations with him, he will no doubt wish to conlact whoever
at headquarters is handling this. Do you happ€n to know the best person to speak to?



Stan Wojtkonski
Special Agent
Office of Inspector General
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Beltsville, MD 20705

Cell: (301) 789-4052
Fax: (301) 504-2025
Stanley.Wojtkonski@oig.usda-gov<trailto:stanleJ.Woit

From: JACOBSON, MIKE (JAKE)
Sent: Tuesday, Dec€mbet 19,2Ol7 4.2'l PM
To; WOJTKONSKI, STANLEY
<STANLEY.WOJTKONSKI@oig.usda-gov<Eailto:STANI                  FY.woj                              >
Subject: RE: DVR fff Comer Groc€ri€s HY-274E-2064

Probably both. I don't know yet if it's inaction necessarily or the speed at which things move through the process
Even if it werc there today, I don't see how it can be done in time fiom a technical standpoint, let alone a review
standpoint.

From: WOJTKONSKI, STANLEY
Sent: Tuesday, Dec€mbet l9,2Ol7 2159 PM
To: JACOBSON, MIKE (JAKE) <mikejacobson@oig.usda.gov<Eail&:miks.iac4bso!@eig"usda,8oy>>;
CASTALDO, VINCENT
<VNCENT.CASTALDO@oig.usda.gov<mailto:VINCFNT.CA                   S
Subject: RE: DVR for Comer Grcceries HY-2748-2064

ls your opinion based on the scope   ofwork to be done by   the 3rd party company, or inaction above TCD lo get the
process approved?
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Fax: (301) 504-2025
Stanley.Wojtkonski@oig.usdagov@
Frcm: JACOBSON, MIKE (JAKE)
Sent: Tuesday, Dec€mber 19,2017 2:55 PM
To: WOJTKONSKI, STANLEY
<STANLEY.WOJTKONSKI@oig.usda.gov<mqilto:STANLEY.woJ@>;                                                  CASTALDO,
VTNCENT <VINCENT.CASTALDO@oig.usda.gov<Bailto:vlNCFNT.CAs
Subject: RE: DVR fff Comer Grccedes HY-2748-2064

Stan.


I forwarded it to HQ for further action. Based on the activity to date, I can safely say ifthe trial occurs within the
next 60 days, this will not b€ dono in time,

Mike Jacobson

From: WOJTKONSKI, STANLEY
Sent: Tuesday, Dec€mber 19,2017 l: l7 PM
To: CASTALDO, VINCENT
<VINCENT.CASTALDO@oig.usda.gov<mailto:VINCFNT.CAS                                             >; JACOBSON, MIKE
(JAKE) <m ike j acobson@oig.usda. gov<oaifiumikqiacqbradAqigJsda€oy>>
Subject: RE: Drr'R for Comer Groceries Hy-2748-2064

ln a trial prep meeting with the AUSA right now. Do we have an update on the DVR for HY-2748-2064 CORNER
GROCERIES?



Stan Wojtkonski
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Office of lnspector General
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Cell: (301) 789-4052
Fax: (301) 504-2025
Stanley.Woj&onski@oig.usda      gov@
From: CASTALDO, VINCENT
Sent: Tuesday, November 28, 2017 6:08 PM
To: WOJTKONSIC, STANLEY
     Case 1:16-cr-00430-CCB Document 136-3 Filed 12/21/18 Page 43 of 44


<STANLEY.WOJTKONSKI@oig.usdagov<oailto:STANI                       FY.W                            >; JACOBSON,
MIKE (JAKE) <mikejacobaon@oig.uda.gov<Eai,La:mikeriacob&El@aieiJsda<goy>>
Subject: RE: DVR for Comer Groceries Hy-2748-2M4

Called DME Forensics and they are putting together a bid and some papenvork and will contact me.

From: WOJTKONSKI, STANLEY
Sene Tuesday, Novembet 2t, 2017 2t24 PM
To: CASTALDO, VINCENT
<VINCENT.CASTALDO@oig.usda.gov<trailro:VINCENT.CA      STAltrl@oig.usda.8ov ; JACOBSON, MIKE
(JAKE) <mike jacobson@oig-usda.gov<6siIo:Eikqiacob6odeoig.usdagor>>
Subject: RE: DYR for Comer Crocedes Hy-2748-2064

Yes, Please contact them. Lets find out whal they can do. I forwarded your email to the pros€cutor and let him
knoru we will make contact wilh the softwarc company. We can figure out payment after we see ifthey can help.



Stan wojtkonski
Special Agent
Office of Inspector General
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Beltsville- MD 20705

Cell: (30!) 7t9-4052
Fax: (301) 504-2025
Stanley. Woj&onski@oig.usdagov<pailto      :Stan ley-   Wojtkons

Fmm: CASTALDO, VINCENT
Sent: Tuesday, November 2E, 2017 2:48 PM
To: JACOBSON, MIKE (JAKE) <mikejacobson@oig.usda.gov<Eail&.:lxilif.racohrap@ai8.jJsda.8o!>>;
WOJTKONSKI, STANLEY
<STANLEY.WOJTKONSKI@oig.usdagov<BailhtSTANLEY.WoJTKoNsKlAo                                        >
Subject: RE: DVR for Comer Groceries H1-274E-2064

Stan.


Unfortunately we have exhausled all options to recover any video directly from this DVR.

We have tried the automated DvR software, networking directly irto the DVR, exponing thc video to a USB drive
ftom the DVR itselfand making a copy ofthe drive and trying to export the vidm fmm the file system itselfbut all
have failed.

The main pmblem we have had wirh the device is it shuts down and restarts after a few minutes ofrunning.

The only option I think we have at Ois point is inquire with the company who makes the automated DVR software
and request their assistance.
This would involve me sending them a copy ofthe hard drive, sec ifthey can determine     fie files system, and
recover the video.
I have never gone this route and have now idea the cost for this service. Ifyou want m€ to inquire about this let me
know.
     Case 1:16-cr-00430-CCB Document 136-3 Filed 12/21/18 Page 44 of 44


From: JACOBSON, MIKE (rAKE)
Sent: Monday, November 2O,2Ol7 E:26 AM
To: CASTALDO, VINCENT
<vINCENT.CASTALDO@oig.usda.gov<s0ailto:vINCENT.CASft                                    >
Subject: FW: DVR for Comer Groceries HY-2748-2O64

For you... When you retum.



From: WOJTKONSKI, STANLEY
Sent: Monday, November 20, 2017 8:25 AM
To: JACOBSON, MIKE (JAKE) <mikejacobson@oig.usda.gov<Eaito;Eikf*iaaohroo@aigJsda.gpy>>
Subject: DVR for Comer Groceries HY-2748-2064

Mike.

Can you give me the status of the store DVR download for this case? I just got oIf the phone with the AUSA and he
wanted me to get a timeframe. I rccall Jim saying it wasn't being coop€rative with the normal DVR software but
time is getting short for us as we prepping for trial.



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